  Case 6:16-cv-01665-DCI Document 88-1 Filed 03/12/18 Page 1 of 7 PageID 609



                       SETTLEMENT AGREEMENT AND RELEASE

        1.     This Agreement covers all understandings between YVETTE LOPEZ (hereinafter
referred to as “Plaintiff,” a term which includes Plaintiff’s successors, assigns, beneficiaries,
personal representatives, and heirs) and SALMA ELFAKI, M.D., P.A. (hereinafter referred to as
“Defendant,” a term which includes each and every officer, director, employee, agent, parent
corporation or subsidiary, affiliate or division, their successors, assigns, beneficiaries, servants,
legal representatives, insurers and heirs).

        2.      For and in consideration of the promises outlined in Paragraph 3 of this Agreement,
Plaintiff agrees as follows:

       A.      To settle any and all claims between Plaintiff and Defendant and release and forever
               discharge Defendant of and from all and any manner of actions, causes of actions,
               suits, rights to attorney fees, debts, claims and demands whatsoever in law or equity
               by reason of any matter, cause or thing whatsoever, and particularly, but without
               limitation of the foregoing general terms, by reason of any claims or actions arising
               from Plaintiff’s employment with Defendant, or related to the transactions or
               matters which are the subject matter of the lawsuit Case No. 6:16-cv-1665-ORL-
               DCI, pending in the United States District Court for the Middle District of Florida,
               including without limitation any claims arising from any alleged violation of any
               and all federal, state, or local laws, including the Employee Retirement Income
               Security Act of 1974, the Civil Rights Acts of 1866, 1871, 1964, and 1991, the
               Rehabilitation Act of 1973, the Fair Labor Standards Act, the Equal Pay Act of
               1963, the Vietnam Era Veterans’ Readjustment Assistance Act of 1974, the
               Occupational Safety and Health Act, the Immigration Reform and Control Act of
               1986, the Americans with Disabilities Act, the Age Discrimination in Employment
               Act of 1967, the Older Workers’ Benefit Protection Act, and the Florida Civil
               Rights Act. This is not a complete list, and Plaintiff waives and releases all similar
               rights and claims under all other federal, state and local discrimination provisions
               and all other statutory and common law causes of action relating in any way to
               Plaintiff’s employment or separation from employment with Defendant to the
               extent permitted by law up through the effective date of this Agreement, except that
               this release does not compromise, waive, or prejudice any claims for worker’s
               compensation consistent with Florida Statutes §440.21.

       B.      To file this Agreement with the Court in Case No. 6:16-cv-1665-ORL-DCI for
               review and approval pursuant to Lynn’s Food Stores, Inc. v. United States, 679 F.2d
               1350 (11th Cir. 1982), with the Court to retain jurisdiction to enforce this
               Settlement Agreement.

       C.      To agree and acknowledge that this settlement does not constitute an admission by
               Defendant of any violation of any federal, state, or local statute or regulation, or
               any violation of any of Plaintiff’s rights or of any duty owed by Defendant.


                                                 1
 Case 6:16-cv-01665-DCI Document 88-1 Filed 03/12/18 Page 2 of 7 PageID 610



       D.     Plaintiff acknowledges that she has no unknown or unreported workplace injuries
              from her employment with Defendant.

      3.     For and in consideration for the promises made by Plaintiff in Paragraph 2 of this
Agreement, Defendant agrees as follows:

       A.     In exchange for the consideration from Plaintiff as set forth in this Agreement,
              Defendant agrees to pay $6,000.00 to Plaintiff as consideration in full and final
              resolution of Plaintiff’s underlying claims in Case No. 6:16-cv-1665-ORL-DCI
              along with $4,200.00 for costs and $22,800.00 in resolution of all of Plaintiff’s
              claims for attorneys’ fees in Case No. 6:16-cv-1665-ORL-DCI, pursuant to the
              following payment plan:

              (1) By March 15, 2018, Defendant shall deliver to Plaintiff’s Counsel, Keith M.
                  Stern, Esq. at 14 NE 1st Avenue, Suite 800, Miami, Florida 33132, checks
                  totaling $3,000.00 as follows:

                  (a) one check made payable to Yvette Lopez in the amount of $545.46, less
                      applicable tax withholdings, as consideration for alleged overtime wages;
                      and
                  (b) one check made payable to Keith M. Stern, P.A. in the amount of $2,454.54
                      as consideration for Plaintiff’s attorneys’ fees and costs,

       but no settlement payments shall be released or distributed until the Court has issued an
       Order of Approval and Dismissal in Case No. 6:16-cv-1665-ORL-DCI.

              (2) By April 13, 2018, Defendant shall deliver to Plaintiff’s Counsel checks
                  totaling $3,000.00 as follows:

                  (a) one check made payable to Yvette Lopez in the amount of $545.46, less
                      applicable tax withholdings, as consideration for alleged overtime wages;
                      and
                  (b) one check made payable to Keith M. Stern, P.A. in the amount of $2,454.54
                      as consideration for Plaintiff’s attorneys’ fees and costs.

              (3) By May 11, 2018, Defendant shall deliver to Plaintiff’s Counsel checks totaling
                  $3,000.00 as follows:

                  (a) one check made payable to Yvette Lopez in the amount of $545.6, less
                      applicable tax withholdings, as consideration for alleged overtime wages;
                      and
                  (b) one check made payable to Keith M. Stern, P.A. in the amount of $2,454.54
                      as consideration for Plaintiff’s attorneys’ fees and costs.



                                               2
Case 6:16-cv-01665-DCI Document 88-1 Filed 03/12/18 Page 3 of 7 PageID 611



          (4) By June 8, 2018, Defendant shall deliver to Plaintiff’s Counsel checks totaling
              $3,000.00 as follows:

             (a) one check made payable to Yvette Lopez in the amount of $545.46, less
                 applicable tax withholdings, as consideration for alleged overtime wages;
                 and
             (b) one check made payable to Keith M. Stern, P.A. in the amount of $2,454.54
                 as consideration for Plaintiff’s attorneys’ fees and costs.

          (5) By July 6, 2018, Defendant shall deliver to Plaintiff’s Counsel checks totaling
              $3,000.00 as follows:

             (a) one check made payable to Yvette Lopez in the amount of $545.46, less
                 applicable tax withholdings, as consideration for alleged overtime wages;
                 and
             (b) one check made payable to Keith M. Stern, P.A. in the amount of $2,454.54
                 as consideration for Plaintiff’s attorneys’ fees and costs.

          (6) By August 3, 2018, Defendant shall deliver to Plaintiff’s Counsel checks
              totaling $3,000.00 as follows:

             (a) one check made payable to Yvette Lopez in the amount of $272.73, less
                 applicable tax withholdings, as consideration for alleged overtime wages;
             (b) one check made payable to Yvette Lopez in the amount of $272.72, from
                 which no withholdings shall be taken, as consideration for alleged
                 liquidated damages; and
             (c) one check made payable to Keith M. Stern, P.A. in the amount of $2,454.55
                 as consideration for Plaintiff’s attorneys’ fees and costs.

          (7) By August 31, 2018, Defendant shall deliver to Plaintiff’s Counsel checks
              totaling $3,000.00 as follows:

             (a) one check made payable to Yvette Lopez in the amount of $545.46, from
                 which no withholdings shall be taken, as consideration for alleged
                 liquidated damages; and
             (b) one check made payable to Keith M. Stern, P.A. in the amount of $2,454.54
                 as consideration for Plaintiff’s attorneys’ fees and costs.

          (8) By September 28, 2018, Defendant shall deliver to Plaintiff’s Counsel checks
              totaling $3,000.00 as follows:

             (a) one check made payable to Yvette Lopez in the amount of $545.44, from
                 which no withholdings shall be taken, as consideration for alleged
                 liquidated damages; and


                                           3
Case 6:16-cv-01665-DCI Document 88-1 Filed 03/12/18 Page 4 of 7 PageID 612



             (b) one check made payable to Keith M. Stern, P.A. in the amount of $2,454.56
                 as consideration for Plaintiff’s attorneys’ fees and costs.

          (9) By October 26, 2018, Defendant shall deliver to Plaintiff’s Counsel checks
              totaling $3,000.00 as follows:

             (a) one check made payable to Yvette Lopez in the amount of $545.45, from
                 which no withholdings shall be taken, as consideration for alleged
                 liquidated damages; and
             (b) one check made payable to Keith M. Stern, P.A. in the amount of $2,454.55
                 as consideration for Plaintiff’s attorneys’ fees and costs.

          (10) By November 23, 2018, Defendant shall deliver to Plaintiff’s Counsel
              checks totaling $3,000.00 as follows:

             (a) one check made payable to Yvette Lopez in the amount of $545.45, from
                 which no withholdings shall be taken, as consideration for alleged
                 liquidated damages; and
             (b) one check made payable to Keith M. Stern, P.A. in the amount of $2,454.55
                 as consideration for Plaintiff’s attorneys’ fees and costs.

          (11) By December 21, 2018, Defendant shall deliver to Plaintiff’s Counsel
              checks totaling $3,000.00 as follows:

             (a) one check made payable to Yvette Lopez in the amount of $545.45, from
                 which no withholdings shall be taken, as consideration for alleged
                 liquidated damages; and
             (b) one check made payable to Keith M. Stern, P.A. in the amount of $2,454.55
                 as consideration for Plaintiff’s attorneys’ fees and costs.

    B.    Defendant shall have Ten (10) days following each of the payment deadlines under
          Section 3(A) to cure any default in payment (i.e., failure to pay the agreed upon
          amount). However, if Defendant does not cure any default in its payment
          obligations under this Agreement during the 10-day grace period(s), Plaintiff shall
          be entitled to a Consent Judgment against Defendant in the amount of $50,000.00
          less any amounts previously paid by Defendant.

    C.    To file this Agreement with the Court in Case No. 6:16-cv-1665-ORL-DCI for
          review and approval pursuant to Lynn’s Food Stores, Inc. v. United States, 679 F.2d
          1350 (11th Cir. 1982), with the Court to dismiss this lawsuit with prejudice and to
          retain jurisdiction to enforce this Settlement Agreement.




                                           4
  Case 6:16-cv-01665-DCI Document 88-1 Filed 03/12/18 Page 5 of 7 PageID 613



       D.      In exchange for the consideration in this Agreement from Plaintiff, Defendant
               releases Plaintiff from any and all claims, charges, actions and causes of action of
               any kind or nature that Defendant once had or now has, whether arising out of
               Plaintiff’s employment or otherwise, up through the effective date of this
               Agreement.

        4.      In the event that Plaintiffs or Defendant commence(s) an action for damages,
injunctive relief, or to enforce the provisions of the Agreement, the prevailing party in any such
action shall be entitled to an award of her/its reasonable attorneys’ fees and all costs including
appellate fees and costs, incurred in connection therewith as determined by the court in any such
action.

        5.      Plaintiff and Defendant agree that this Settlement Agreement is entered into
knowingly and voluntarily, after having the opportunity to fully discuss it with an attorney. Having
had the opportunity to obtain the advice of legal counsel to review, comment upon, and redraft the
agreement, the parties agree that the Agreement shall be construed as if the parties jointly prepared
it so that any uncertainty or ambiguity shall not be interpreted against any one party and in favor
of the other.

       6.       The effective date of this Agreement shall be the date of the Court’s Order of
Approval and Dismissal in Case No. 6:16-cv-1665-ORL-DCI. In the event the Court does not
approve of this settlement agreement, this agreement, its requirements, and its releases shall be of
no force or effect.

        7.      This Agreement supersedes any and all prior agreements between the parties. No
cancellation, modification, amendment, deletion, addition, or other changes in this Agreement
shall be effective for any purpose unless specifically set forth in a subsequent written agreement
signed by both Plaintiff and Defendant.

       8.      This Agreement may be executed electronically and in multiple counterparts, each
of which shall be deemed an original, but all of which together shall constitute one instrument.
Electronic and facsimile signatures shall be deemed effective as original signatures.

        9.      Should any provision of this Agreement be declared or determined by any court of
competent jurisdiction to be illegal or invalid, the validity of the remaining parts, terms or
provisions shall not be affected thereby and said illegal or invalid part, term or provision shall be
deemed not to be a part of the Agreement and all other valid provisions shall survive and continue
to bind the parties.

        10.    The law governing this Agreement shall be that of the United States and the State
of Florida.




                                                 5
Case 6:16-cv-01665-DCI Document 88-1 Filed 03/12/18 Page 6 of 7 PageID 614
 Case 6:16-cv-01665-DCI Document 88-1 Filed 03/12/18 Page 7 of 7 PageID 615



DATE: _____________    Signature: ____________________________________________
                                     YVETTE LOPEZ



DATE: _____________
      3/12/18          Signature: ____________________________________________
                                     SALMA ELFAKI, on behalf of SALMA ELFAKI,
                                     M.D., P.A.




                                      6
